32 F.3d 563
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.John Everett CLARK, Defendant Appellant.
    No. 94-6298.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 23, 1994Decided:  August 15, 1994.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Asheville.  Richard L. Voorhees, Chief District Judge.  (CR-91-93, CA-93-32-1)
      John Everett Clark, Appellant Pro Se.
      Thomas J. Ashcraft, Office of the United States Attorney, Charlotte, North Carolina, for Appellee.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Clark, No. CR-91-93, No. CA-93-32-1 (W.D.N.C. Mar. 2, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    